
*1204In this parking lot trip and fall case, defendants assert that the court of appeal erred in reversing the district court's grant of summary judgment in favor of defendants. Noting that plaintiff had visited the site on prior occasions and nothing prevented her from seeing the curb or appreciating its height, the district court held that the height of the sidewalk was an open and obvious condition and, as such, the defendants did not owe a duty to the plaintiff. Accordingly, I would grant this writ application and reinstate the district court's dismissal of this case. See Williams v. Liberty Mut. Fire Ins. Co. , 16-0996, p. 9 (La. App. 1 Cir. 3/13/17), 217 So.3d 421, 427 ("An accident, alone, does not support the imposition of liability, particularly considering the normal hazards pedestrians face while traversing sidewalks and parking lots in this state. A pedestrian has a duty to see what should be seen and is bound to observe his course to see if his pathway is clear.").
